                              UNITED STATES DISTRICT COURT

                                MIDDLE DISTRICT OF FLORIDA

                                        TAMPA DIVISION


LASSWELL FOUNDATION FOR LEARNING
AND LAUGHTER, INC., FRED LASSWELL,
INC., RED RYDER ENTERPRISES, INC.,
AND GOLDBOOK LTD.,

                       Plaintiffs,
       vs.                                             Case No. 8:17-cv-46-T-27CPT

TIMOTHY SCHWARTZ; DESIGN TANK,
INC.; and DOES 1-10, inclusive,                        The Hon. James D. Whittemore
                                                       Courtroom 13B
                       Defendants.
                                                       Magistrate Judge Christopher P. Tuite


DECLARATION OF ANDREW D. SKALE IN SUPPORT OF REPLY IN SUPPORT OF

 MINTZ LEVIN’S L.R. 2.03(b) MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

            FOR PLAINTIFF AND INCORPORATED MEMORANDUM OF LAW


       I, ANDREW D. SKALE, DECLARE:

       1.      I am an attorney at law duly licensed to practice law in the State of California and

am admitted pro hac vice in the United States District Court for the Middle District of Florida. I

am member of the law firm Mintz Cohn Ferris Glovsky and Popeo, PC, attorneys of record for

Plaintiffs LASSWELL FOUNDATION FOR LEARNING AND LAUGHTER, INC., FRED

LASSWELL, INC., RED RYDER ENTERPRISES, INC., and GOLDBOOK LTD.

(“Plaintiffs”). I am readily familiar with the facts in this matter and if called as a witness to

testify, could competently do so.

       2.      Attached as Exhibit 1 hereto is a true and correct copy of the March 1, 2017

Amended Complaint (filed on the docket with Plaintiff’s Motion to Deem Amended Complaint




                                                  1
Filed) in the following case in Slesinger et al. v. Schwartz et al., Case No. 14-CA-004950

(Circuit Court of the Thirteenth Judicial Circuit In and For Hillsborough County, Florida Civil

Division) (the “State Case”).

       3.      Attached as Exhibit 2 is a true and correct copy of a printout for the online docket

in the State Case, accessed from the Circuit Court’s online case database at hover.hillsclerk.com.

The docket entry at July 17, 2017 reads: “Notice of Appearance of Jonathan B Sbar, Esq as

Counsel.” Mintz Levin is not and has never been counsel in the State Case or related state case.

The docket records a response to this operative pleading July 24, 2017, docketing the filing of

the “Answer and Affirmative Defenses to First Amended Complaint.”

       I declare under penalty of perjury under the laws of the United States of America, that the

foregoing is true and correct.

       Executed this September 20, 2018, at San Diego, California.



                                             Andrew D. Skale




                                                2
                                  CERTIFICATE OF SERVICE

       I, the undersigned, certify and declare that I am over the age of 18 years, employed in the

County of San Diego, State of California, and am not a party to the above-entitled action.

       On September 20, 2018, I filed a copy of the foregoing document by electronically filing

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to all CM/ECF registered users.

           •   Jonathan B. Sbar, Esq., jsbar@rmslega.com

       Executed on September 20, 2018, at San Diego, California.

                                     s/Andrew D. Skale
                                     Andrew D. Skale (Pro Hac Vice)




                                                1
                                 CERTIFICATE OF SERVICE

       I am employed in the County of San Diego, my business address is Mintz Levin Cohn

Ferris Glovsky and Popeo PC, 3580 Carmel Mountain Road, Suite 300, San Diego, CA 92130.

I am over the age of 18 and not a party to the foregoing action.

       I am readily familiar with the business practice at my place of business for collection and

processing of correspondence for personal delivery, for mailing with United States Postal

Service, for facsimile, and for overnight delivery by Federal Express, Express Mail, or other

overnight service.

       On September 20, 2018, I caused a copy of the following document:

       DECLARATION OF ANDREW D. SKALE IN SUPPORT OF MINTZ LEVIN’S
L.R. 2.03(b) MOTION FOR LEAVE TO WITHDRAW AS COUNSEL FOR PLAINTIFF
AND INCORPORATED MEMORANDUM OF LAW

to be served on the interested parties in this action by placing a true and correct copy thereof,

enclosed in a sealed envelope, and addressed as follows:

Timothy Schwartz                          Pro Se
5108 W. Longfellow Avenue
Tampa, FL 33629

                                     Plaintiffs
LASSWELL FOUNDATION FOR              LASSWELL FOUNDATION FOR
LEARNING AND LAUGHTER, INC. LEARNING AND LAUGHTER, INC., FRED
FRED LASSWELL, INC.                  LASSWELL, INC., RED RYDER
RED RYDER ENTERPRISES, INC.          ENTERPRISES, INC., AND GOLDBOOK
GOLDBOOK LTD.                        LTD.
1282 Lago Vista Place
Beverly Hills, CA 90210
 XX MAIL:               Such correspondence was deposited, postage fully paid, with the
                        U.S. Postal Service on the same day in the ordinary course of
                        business.

XX     EMAIL:               To ensure prompt receipt, both parties were also emailed a copy to
                            their regular email addresses used throughout these proceedings.

XX     FED-EX:              To ensure prompt receipt by Plaintiffs, this document was also
                            overnighted through Federal Express for next-day delivery.




                                                   2
        I declare under penalty of perjury that the above is true and correct. Executed on

September 20, 2018, at San Diego, California. I further declare that I am employed in the office

of a member of the bar of this Court, at whose direction the service was made.



                                                 Kerry Winterson




81057892v.1
                                                 3
EXHIBIT 1
   Filing # 53110888 E-Filed 03/01/2017 07:38:15 AM
                     IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                             IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                           CIVIL DIVISION

             PATRICIA A. SLESINGER, as the Personal                               Case No.: 14-CA-004950
             Representative of the ESTATE OF SHIRLEY                              Division D
             LASSWELL,

                     Plaintiff,

             vs.

             TIMOTHY SCHWARTZ,

                   Plaintiff.
             ________________________________________/

                        PLAINTIFF’S MOTION TO DEEM AMENDED COMPLAINT FILED

                   COMES NOW, Plaintiff, through undersigned counsel, and hereby files this Motion

             to Deem Amended Complaint Filed, and in support thereof states as follows:

                     1. The Complaint in this case was filed on May 9, 2014.

                     2. Defendant filed counterclaims.

                     3. On or about November 17, 2016, the undersigned counsel was substituted as counsel

             for Plaintiff in this cause.

                     4. On December 8, 2016, a Case Management Conference was held at which the

             undersigned made an ore tenus motion for leave to amend the Complaint, which was granted

             with the instruction that the undersigned prepare and file a Motion attaching the Amended

             Complaint.

                     5. Opposing counsel had no objection to the ore tenus motion and it was agreed that

             opposing counsel would have thirty (30) days to respond to the amended complaint.

                     6. On January 3, 2017, at a hearing on Plaintiff’s Motion for Expedited Discovery, the

             Court requested that Plaintiff produce Estate-related documentation and, as such, Plaintiff’s

             counsel made an ore tenus motion for a 15-day extension to file the amended complaint, which

             was granted.



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                     7. A stipulation was subsequently reached between counsel further extending the

             deadline.

                     8. Subsequently, on February 2, 2017, a Motion for Extension of Time was filed by the

             undersigned for multiple reasons of good cause, including that the undersigned had learned of an

             additional, related action filed by Defendant in the Circuit Court of Hillsborough County, and

             that a related federal case was recently transferred to the Middle District of Florida from the

             Southern District of California. The newly filed Circuit Court case and recently transferred

             federal case are both directly inter-related with the underlying claims/Counterclaim pending

             before this Court and there were currently multiple parties, attorneys and law firms involved in

             developing a consistent, unified strategy for the Lasswell/Slesinger parties in these sundry

             actions/counterclaims.

                     9. In addition, Estate-related issues needed to be tended to by the recently hired attorney

             for the Estate.

                    WHEREFORE, Plaintiff respectfully requests this Honorable Court deem the First

             Amended Complaint attached hereto as Exhibit 1 filed, and for such other and further relief as

             the Court deems appropriate under the circumstances.




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                                            CERTIFICATE OF SERVICE

                  I HEREBY CERTIFY that on March 1, 2017, I electronically filed the foregoing
             document with the Clerk of the Court using the ePortal system and that the foregoing document
             was served via email generated by the ePortal system to: David J. Plante, Esq. of The Plante Law
             Group, PLC at david@theplantelawgroup.com and plg@theplantelawgroup.com.

                                                         LIESER SKAFF ALEXANDER, PLLC
                                                         Attorneys for Plaintiff
                                                         403 North Howard Avenue
                                                         Tampa, Florida 33606
                                                         Telephone: (813) 280-1256
                                                         Facsimile: (813) 251-8715

                                                         /s/ Jeffrey P. Lieser__________________________
                                                         JEFFREY P. LIESER
                                                         Florida Bar No.:29164
                                                         Primary: jeff@lieserskaff.com
                                                         LAURA R. MAULDIN
                                                         Florida Bar No.: 103091
                                                         Primary: laura@lieserskaff.com
                                                         Secondary for all: efile@lieserskaff.com




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                      IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                              IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                            CIVIL DIVISION

             PATRICIA A. SLESINGER, as Personal
             Representative of the Estate of SHIRLEY S.
             LASSWELL, FRED LASSWELL, INC., a
             Florida corporation, SLESINGER
             COMMUNICATIONS, INC., a California
             corporation, LASSWELL FOUNDATION
             FOR LEARNING AND LAUGHTER,
             INC., a not-for-profit Florida corporation
             and GOLDBOOK, LTD., a California
             limited partnership,

             Plaintiffs,                                                 Case No.: 14-CA-004950
                                                                         Division D
             v.

             TIMOTHY SCHWARTZ, an individual,
             and DESIGN TANK, INC., d/b/a or a/k/a
             Design Tank, an involuntarily dissolved
             Illinois corporation, and UNKNOWN
             DEFENDANTS,

                   Defendants.
             ___________________________________________/

                                           FIRST AMENDED COMPLAINT

                     COME NOW Plaintiffs, PATRICIA A. SLESINGER, as Personal Representative and on

             behalf of the Estate of Shirley S. Lasswell (“Personal Representative”), FRED LASSWELL,

             INC., SLESINGER COMMUNICATIONS, INC. (“SCI”), LASSWELL FOUNDATION FOR

             LEARNING AND LAUGHTER, INC., and GOLDBOOK, LTD. (“Goldbook”), (collectively

             these entities are referred to as “Corporate Plaintiffs”), by and through the undersigned attorney,

             and sue Defendants, TIMOTHY SCHWARTZ (“Schwartz”), DESIGN TANK, INC., d/b/a or

             a/k/a Design Tank (“Design Tank”), and UNKNOWN DEFENDANTS (collectively, Schwartz,

             Design Tank and Unknown Defendants are referred to as “Defendants”) and allege:




                                                                                          EXHIBIT 1
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                                       PARTIES, JURISDICTION AND VENUE

                       1.   Shirley S. Lasswell a/k/a Shirley Ann Slesinger-Lasswell is the record owner of

             real property in Hillsborough County, Florida located at 5108 W. Longfellow Avenue, Tampa,

             Florida 33629 (the “Lasswell Family Home”).

                       2.   The Lasswell Family Home is more particularly described as follows:

                            Lot 6 of SUNSET PARK ISLES UNIT #1, as per map or plat thereof
                            Recorded in Plat Book 31 on Page 2 of the Public Records of
                            Hillsborough County, Florida.

                       3.   The Lasswell Family Home is a 3,008 square-foot open-bay, waterfront single

             family residence in Tampa’s Sunset Park neighborhood, with a market value of $1,380.884.00

             according to the Hillsborough County Property Appraiser’s website.

                       4.   Title to the Lasswell Family Home deraigns as follows: Shirley S. Lasswell

             acquired title to the Lasswell Family Home by virtue of that Warranty Deed dated April 8, 1966,

             from John L. Liner and Nina F. Liner to Fred D. Lasswell, Jr., and Shirley A. Lasswell, which

             was recorded on or about April 11, 1966, in Official Records Book 1599, Page 902, in the Public

             Records of Hillsborough County, Florida.

                       5.   A copy of said Warranty Deed is attached hereto as Exhibit “A” and incorporated

             herein.

                       6.   Fred D. Lasswell, Jr., died in 2001 and title to the Lasswell Family Home

             transferred to Shirley S. Lasswell.

                       7.   Shirley S. Lasswell died in 2007.




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                    8.        Upon Ms. Lasswell’s death, and at all relevant times hereto, the Lasswell Family

             Home did contain the home offices, personal belongings, household items, mementos,

             memorabilia, heirlooms and worldly possessions of the Lasswell family.

                    9.        Patricia A. Slesinger is an individual and primary beneficiary of the Estate, as

             defined below.

                    10.       Prior to Shirley Lasswell’s death, Patricia A. Slesinger was Ms. Lasswell’s

             attorney-in-fact under a power of attorney.

                    11.       Following Ms. Lasswell’s passing, the Lasswell Family Home became an asset of

             Ms. Lasswell’s Estate (the “Estate”).

                    12.       On or about February 13, 2017, Patricia A. Slesinger was appointed Personal

             Representative of the Estate of Shirley S. Lasswell in Hillsborough County Case No. 17-CP-

             000335. See composite Exhibit “B,” incorporated herein.

                    13.       Pursuant to the provisions of Section 733.601, Florida Statutes, the powers of a

             personal representative relate back in time to give acts by the person appointed, occurring before

             appointment and beneficial to the estate, the same effect as those occurring after appointment.

                    14.       Plaintiff, Fred Lasswell, Inc., is a Florida corporation duly authorized to conduct

             business in the state of Florida.

                    15.       Plaintiff, SCI, is a California corporation.

                    16.       Plaintiff, Lasswell Foundation for Learning and Laughter, Inc., is a Florida Not-

             for-Profit corporation duly authorized to conduct business in the state of Florida.

                    17.       Plaintiff, Goldbook, is a California limited partnership.

                    18.       Defendant, Timothy Schwartz, is an individual currently claiming residence in

             Hillsborough County, Florida.




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                     19.     Defendant, Design Tank, Inc., was an Illinois corporation owned and operated by

             Schwartz.

                     20.     Unbeknownst to Plaintiffs, Design Tank, Inc., was involuntarily dissolved by the

             Illinois Secretary of State on December 12, 2008.

                     21.     UNKNOWN DEFENDANTS are those unknown individuals who may be

             residing at the Lasswell Family Home with the permission or consent of Schwartz and/or who

             aided, abetted or assisted Schwartz in carrying out the complained of activities herein, including

             the removal of Personal Property, as defined below.

                     22.     This Court has jurisdiction over this matter pursuant to Section 26.012(2(a)) and

             (f), Florida Statutes.

                     23.     Venue is proper in Hillsborough County, Florida, because (a) the Lasswell Family

             Home is located in Hillsborough County, Florida; (b) the causes of action accrued in

             Hillsborough County, Florida; and (c) Schwartz claims to reside in Hillsborough County,

             Florida.

                                              GENERAL ALLEGATIONS

                     24.     Fred and Shirley Lasswell were longtime residents of Tampa, Florida and were

             each creative artists.

                     25.     The Lasswells are remembered for their genuine warmth and philanthropic

             endeavors.

                     26.     Mr. Laswell was a world-renowned 20th Century humorist, prolific cartoonist and

             inventor.

                     27.     One such cartoon is this Christmas card from Mr. Laswell, Shirley Lasswell and

             Patricia A. Slesinger featuring some of Mr. Laswell’s comic strip characters:




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                    28.     He is best known as the artist and writer of Barney Google and Snuffy Smith, for

             which he created more than 25,000 daily and Sunday comic strips and over 152,000 drawings

             from 1933 to 2001 from his Tampa office and home studio.

                    29.     Barney Google and Snuffy Smith are recognized as one of the oldest continually

             syndicated comic strips in history.

                    30.     During his lifetime, Fred Lasswell created or collected thousands of pieces of art,

             comic strips and creative works, including:

                            a.      Comics for the Blind that “feel funny,” whimsical original songs, animal
                                    characters and teacher instruction manuals that teach kids to write and
                                    draw, including a new and easy way to learn the alphabet and numbers;
                            b.      A collection spanning eighty years of original art, sketches, sketch books,
                                    storyboards, drawings, comic strip panels, letters, writings, jokes, humor
                                    skits, scripts, paintings, photographs, original films, published and
                                    unpublished books, golden age comic books, children’s activity books,
                                    games and original children’s media;
                            c.      Proprietary software and digital items; and
                            d.      Character and themed merchandise - - together with art, writings, popular
                                    books, photographs and memorabilia.

                            (Collectively “Fred Lasswell Archive”).




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                     31.     Prior to their deaths, Fred and Shirley Laswell, through their companies and

             entities, either created, owned or possessed the Fred Lasswell Archive, and a collection of

             originals of art, comic strips, comics, books, printed media, motion pictures, photographs,

             movies, songs and video recordings, as well as other comic strips, characters, physical items and

             creative content, representing the best loved artists and authors of popular 20th Century culture.

             All such items collectively referred to as the “Archive.”

                     32.     The Archive was located at two locations in Tampa, Florida, – the Lasswell

             Family Home and an office on North Westshore Boulevard (“The Lasswell Office”).

                     33.     Prior to his death, Fred Laswell and The Ohio State University Cartoon Research

             Library, the preeminent library of comics and cartoon art in the country, agreed that the Fred

             Laswell Archive would be transferred to the Library.

                     34.     During the last two years of Fred Lasswell’s life, he began preparing the Fred

             Lasswell Archive for transfer to The Ohio State University Cartoon Research Library.

                     35.     At the time of his death, Mr. Lasswell had organized and digitized about 80% of

             the Fred Lasswell Archive.

                     36.     Goldbook and SCI (collectively the “Goldbook Partnership”) were tasked with

             completing the organization and digitization following Mr. Lasswell’s passing.

                     37.     Completion of the Fred Lasswell Archive required the services of individuals with

             the technical skill to scan and organize the remaining contents of the Fred Lasswell Archive in

             electronic files.

                     38.     From time to time, Defendant Schwartz had worked as a digital project consultant

             to Goldbook.




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                     39.       Pursuant to a verbal agreement, the Goldbook Partnership and Schwartz, as an

             individual and also on behalf of Design Tank, agreed that Schwartz and Design Tank would

             furnish some of the required services to finalize the Fred Lasswell Archive in exchange for an

             undetermined amount of compensation and consideration from the Goldbook Partnership; more

             specifically, Schwartz and Design Tank were to identify and index the files already digitized and

             stored on CDs in the digital library, and to identify, index and scan those not already digitized (the

             “Project”).

                     40.       Schwartz was also occasionally also tasked with various other tasks and

             administrative undertakings.

                     41.       Design Tank and/or Schwartz were to serve as consultants to the Goldbook

             Partnership.

                     42.       The Project provided Schwartz limited access to the Lasswell Family Home and

             the Lasswell Office for Project purposes.

                     43.       The Goldbook Partnership invested time, money, and energy to ensure the success

             of the Project.

                     44.       Out-of-state staff and consultants of the Goldbook Partnership took several trips to

             Tampa, staying (as Schwartz did initially) at a nearby hotel or nearby residence, as they were

             required.

                     45.       Under no circumstances was anyone except Patricia A. Slesinger, her daughter or

             late-husband permitted to sleep or reside at the Lasswell Family Home.

                     46.       When the out-of-state staff and consultants left, Schwartz was to work with local

             Florida staff, including an artist who had served as one of Mr. Lasswell’s artistic assistants and




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             who had helped prepare the Fred Laswell Archive with Mr. Lasswell prior to Mr. Lasswell’s

             death.

                      47.    Instead, Schwartz and Design Tank distanced themselves from the Goldbook

             Partnership’s local staff and gave false progress reports.

                      48.    The Project, which was estimated to take a few months to complete, dragged on

             for years in large part because Schwartz often left the state of Florida for extended periods of

             time.

                      49.    Schwartz and Design Tank ultimately and utterly failed to complete the Project,

             despite receiving substantial compensation and consideration from the Goldbook Partnership.

                      50.    Worse, unbeknownst to Plaintiffs, Schwartz had begun sleeping at the Lasswell

             Family Home at some point, even though he well knew this was not permitted and that he was

             supposed to stay at a nearby hotel or the nearby residence.

                      51.    Schwartz ultimately moved in, began opening the Lasswells’ mail and registered

             the Lasswell Family Home as his driver’s license address.

                      52.    Schwartz’s occupancy at the Lasswell Family Home was only discovered in 2013

             when the Goldbook Partnership’s out-of-state staff unexpectedly visited the Lasswell Family

             Home on another project.

                      53.    Subsequently, in May of 2013, Schwartz sent an e-mail to Patricia A. Slesinger,

             which in relevant part stated:

                      I had no idea I would be in Florida this long or would have found my own place
                      here or made arrangements with you for making a more permanent residence
                      here . . . I am guilty of not pressuring you for more direction because it is so nice
                      here. However, despite what you apparently think, I’m not trying to take
                      advantage of you.

                      . . . 5108 W Longfellow/Rent [Emphasis added]




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                     . . . I have never felt or treated this house like it was my place . . . My clothes are
                    still in suitcases! . . . I will leave this place like I do everywhere –better than I
                    found it . . . Regardless, I would be more than happy to actually pay rent for – or
                    even buy – the place. That would be something we would need to talk about, and I
                    am open to that. [Emphasis added]

                    I have charged $100 an hour for the past 15 years… You paid me $100,000 for
                    2008, 2009, and 2010, then for last year you paid me $65,000 for 2011, and now
                    this year, for 2012, your position is I’m not worth $75,000. I strongly disagree,
                    but I’m not going to argue with you about it. You must have an amount in mind so
                    please send that amount as soon as possible and everyone will be happy!

                    Again, Thank you for everything :)

                    54.      A copy of the e-mail is attached hereto as Exhibit “C”, and incorporated herein

             by reference.

                    55.      Beginning in 2014, Schwartz proceeded to systematically ransack and gut the

             Lasswell Office and the Lasswell Family Home.

                    56.      Schwartz rummaged through every drawer and closet in the Lasswell Family

             Home, even disturbingly, the late Ms. Lasswell’s underclothing drawers.

                    57.      Defendants were observed taking large loads of items out of the Lasswell Office

             under cover of night.

                    58.      Defendants took possession of, damaged, removed and/or stole substantial

             personal property belonging to or owned or controlled by Plaintiffs, including, but not limited to

             the Archive, those items in Paragraphs 8 and 30 above, an extensive collection of materials,

             ephemera, storage disks, CDs, original artwork, documents in both physical and digital media,

             original cartoons, other original artwork, personal effects, professional equipment, business

             records, computer equipment and:

                             a. The proprietary tangible, digital business, and other property belonging to the
                                Archive including, but not limited to, original artwork, sketches, drawings,
                                writings, photographs, music, songs, films, videos, and books, including those
                                of some of the most influential artists and authors of the twentieth century;



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                          b. The proprietary tangible, digital business, business and personal records and
                             other property belonging to the Corporate Plaintiffs and/or their clients;

                          c. Business records, account information, and proprietary material including, but
                             not limited to, access codes to digital programming and websites, bank
                             records, account numbers, PayPal account information, customer lists, and
                             Uncle Fred’s “Draw & Color with Uncle Fred” Children’s educational
                             programs;

                          d. Computers and their content including internal and external media devices,
                             storage discs and CDs;

                          e. Historical documents including, but not limited to, books, first editions,
                             paintings, engravings, drawings and photographs of American Colonial
                             History, the American West, American Theatre, the early days of American
                             media and merchandising, Florida, New York, World War II, The Great
                             Depression, and rural America;

                          f. Unpublished original paintings, pen and ink drawings, sketches, comic panels,
                             illustrations, uncirculated children’s books, golden age comic books, trading
                             cards, autographed works and nostalgic merchandise of popular fictional
                             characters including Tarzan, Red Ryder, Blondie, Peanuts, Hagar the Horrible
                             and others;

                          g. Personal property from the Lasswell Home and Lasswell Office, including the
                             art studio, video production room, general storage room, merchandise room
                             and file room;

                          h. $5,000.00 from a PayPal account from the sale of Uncle Fred videos by Fred
                             Lasswell, Inc.;

                          i. U.S. Mail directed to Plaintiffs or their agents;

                          j. All items from the archival storage;

                          k. All items from the file out coves;

                          l. All art books;

                          m. All art work, including originals;

                          n. All archival boxes of Fred Lasswell fan mail labeled “Uncle Fred’s fans and
                             friends;”

                          o. The Whiteboard;



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                            p. Fred Lasswell’s chair;

                            q. All items from Fred Lasswell’s desk;

                            r. All mini-cassettes;

                            s. All contents from the photograph boxes stacked on the shelves; and

                            t. Monies from the attic/roof of the Lasswell Family Home.

                    Collectively all the above are referred to herein as the “Personal Property.”

                    59.     Plaintiffs own the Personal Property collectively or individually, depending on the

             respective item, or possessed the Personal Property, collectively or individually, depending on the

             respective item, on behalf of clients.

                    60.     Schwartz has admitted he moved the Personal Property from the Lasswell Office

             and the Lasswell Family Home, but has repeatedly refused to say where the items were moved to,

             to put the Personal Property back or to otherwise return the Personal Property.

                    61.     Upon information and belief, Defendants used the Personal Property for their own

             pecuniary interests, in ways never authorized by Plaintiffs; more specifically, it appears

             Defendants may have sold the Personal Property on the internet and through the “black market.”

                    62.     Ultimately, the Goldbook Partnership terminated any relationship with Schwartz

             and Design Tank.

                    63.     Plaintiffs demanded that Schwartz vacate the Lasswell Family Home and return all

             the missing Personal Property.

                    64.     Schwartz and Design Tank refused to do so, instead attempting to extort additional

             compensation from Plaintiffs for work not done in exchange for possession of the Lasswell

             Family Home and/or return of the Personal Property.




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                    65.     Defendants’ actions crippled Corporate Plaintiffs’ ability to run their businesses,

             and indefinitely delayed the transfer of the Fred Lasswell Archive.

                    66.     Meanwhile, the Lasswell Family Home has fallen into disrepair and has been

             significantly damaged.

                    67.     Worse, Schwartz continues to brazenly refuse to vacate the Lasswell Family

             Home or to return any of the Lasswell family heirlooms or other Personal Property.

                    68.     In pleading his Counterclaim/Third Party Complaint in this action and his

             Complaint in Circuit Court Case (Case Number 16-CA-011624), Schwartz alleges a right to

             occupy the Lasswell Family Home pursuant to an alleged tenancy that was incidental to alleged

             employment.

                    69.     According to Schwartz’s pleadings and the judicial findings in the Order of

             Transfer to Circuit Court entered by the Honorable Herbert Berkowitz on April 24, 2014,

             (“Order”), Schwartz’s purported employment was terminated on or about January 8, 2014.

                    70.     The Order further provided the Court would “have to determine whether

             Defendant was provided occupancy without rent as an incident of employment. If it is

             determined that such is the Defendant’s status, then, once employment is terminated, the landlord

             is entitled to rent from the day after employment ceases until the dwelling unit is vacated, and

             that such rent shall be at a rate equivalent to the rate charged for similarly situated residences in

             the area.”

                    71.     The Order also stated that, alternatively, the Court “…must determine whether

             Defendant was unlawfully detaining the property after having first gained occupancy with

             permission of the owner.”

                    72.     Schwartz has never offered rental payments to Plaintiffs.




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                     73.      Personal Representative and the Goldbook Partnership have continued to request

             that Schwartz vacate possession of the Lasswell Family Home.

                     74.      For example, on or about January 23, 2014, Schwartz was served with a written

             Notice to Quit the Lasswell Family Home.

                     75.      Said Notice is attached hereto as Exhibit “D.”1

                     76.      Schwartz has continued to fail or refuse to vacate.

                     77.      For good and valuable consideration, the sufficiency of which was acknowledged,

             the Goldbook Partnership Plaintiffs assigned any all rights, remedies and defenses pertaining to

             Schwartz’s alleged tenancy (this expressly excludes issues related to the Personal Property),

             including all rent-related issues, to Personal Representative.

                     78.      Schwartz’s possession of the Lasswell Family Home has damaged the Estate and

             Personal Representative.

                     79.      The Estate and Personal Representative’s damages include, without limitation: (a)

             loss of rental income; (b) loss of use and enjoyment of the Lasswell Family Home; (c) loss of

             collateral value of the Lasswell Family Home or equity therein; (d) loss of potential profit from

             sale of Lasswell Family Home; and (e) physical damage and deterioration of the Lasswell Family

             Home, as well as its pool and landscaping.

                     80.      Plaintiffs required the services of undersigned counsel and of predecessor counsel

             in this matter, and have been and continue to be obligated to pay reasonable fees for services

             rendered.

                     81.      All conditions precedent to this action have been satisfied or waived.

             1
               On or about February 24, 2017, Schwartz was also served with a written notice of termination of the alleged
             tenancy, requiring him to vacate the Lasswell Family Home by no later than March 31, 2017, pursuant to Section
             83.57, Florida Statutes. A copy of that Notice is attached hereto as Exhibit “E” and incorporated herein by
             reference.




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                                                   COUNT I: EVICTION
                                                       (Schwartz)

                       82.   Personal Representative re-alleges paragraphs 1 through 81 as if fully set forth

             herein.

                       83.   This is an action by Personal Representative against Schwartz for possession of

             residential real property located in Hillsborough County, Florida.

                       84.   Schwartz was terminated no later than January 8, 2014.

                       85.   No wages were payable to the Defendants during any time relevant to this action.

                       86.   Based upon the termination of Schwartz’s alleged employment, and pursuant to

             the provisions of Section 83.46(3), Florida Statutes, Schwartz was required to pay rent beginning

             January 9, 2014, the day after said termination, at a rental rate equivalent to the rate charged for

             similarly situated residences in the area.

                       87.   According to real estate experts, the rental rate equivalent to the rate charged for

             similarly situated residences in the area of the Lasswell Family Home is no less than $2,500.00

             per month.

                       88.   On or about February 16, 2017, a certified process server served a 3-day notice on

             Schwartz for nonpayment of rent in the sum of $93,194.13 (for rent from January 9, 2014

             through February 15, 2017).

                       89.   A true and correct copy of the 3-day notice is attached as Exhibit “F.”

                       90.   Schwartz has failed to pay any sums for rent or to vacate the Lasswell Family

             Home.

                       91.   As of February 16, 2017, Schwartz owes the sum of $93,194.13 for the rent and

             use of the Lasswell Family Home.

                       92.   Rent is accruing.



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                       93.   Section 83.48, Florida Statutes provides for Personal Representative’s recovery of

             attorney’s fees, costs and expenses pertaining to this dispute.

                       94.   Personal Representative is entitled to summary procedure pursuant to Section

             51.011, Florida Statutes.

                       95.   The Estate and Personal Representative have been damaged by Schwartz’s failure

             to pay rent as required by Section 83.46(3), Florida Statutes or vacate the Lasswell Family

             Home.

                       WHEREFORE, Plaintiff, Personal Representative, demands judgment against

             Defendant, Timothy Schwartz, for possession, attorney’s fees, expenses and court costs, and for

             all other relief to which the Estate is entitled at law or in equity.

                                           COUNT II: UNLAWFUL DETAINER
                                           (Schwartz and Unknown Defendants)

                       96.   Personal Representative re-alleges paragraphs 1 through 81 as if fully set forth

             herein.

                       97.   This is an action by Personal Representative against Schwartz and Unknown

             Defendants to recover possession of real property unlawfully detained in Hillsborough County,

             Florida, pursuant to Chapter 82, Florida Statutes, and is pled in the alternative to Count I.

                       98.   Personal Representative is the party entitled to possession of the Lasswell Family

             Home.

                       99.   Schwartz and Unknown Defendants do not hold any title to or any estate in the

             Lasswell Family Home; do not occupy the Lasswell Family Home under any rental agreement,

             whether written or verbal, as defined in Part II of Chapter 83, Florida Statute, and are therefore

             not residential tenants.




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                    100.    Schwartz and Unknown Defendants do not otherwise possess any vested right to

             possession or occupancy of the Lasswell Family Home.

                    101.    Nevertheless, Schwartz and Unknown Defendant are currently in possession of

             the Lasswell Family Home.

                    102.    Personal Representative demanded that Schwartz vacate the Lasswell Family

             Home multiple times.

                    103.    Schwartz and Unknown Defendants have failed or refused to vacate, and continue

             in possession of the dwelling.

                    104.    Schwartz and Unknown Defendants unlawfully turned Personal Representative

             out of the Lasswell Family Home and deprived Personal Representative of possession of the

             Lasswell Family Home by their unlawful entry, against Personal Representative’s consent.

                    105.    The Estate and Personal Representative have been damaged by Schwartz’s and

             Unknown Defendants’ unlawful detainer and possession of the Lasswell Family Home, including

             by loss of use and enjoyment of the unlawfully detained Property.

                    106.    Pursuant to Section 82.03, Florida Statutes, Personal Representative is entitled to

             summary procedure as set forth in Section 51.011, Florida Statutes.

                    WHEREFORE, Plaintiff, Personal Representative, respectfully requests that this Court:

             find Timothy Schwartz and Unknown Defendants wrongfully hold possession of the Property;

             grant final judgment in favor of the Estate and against Schwartz and Unknown Defendants; issue

             a writ of possession in favor of the Estate to the exclusion of Schwartz and Unknown

             Defendants; award the Estate the costs of this action, in accordance with Section 82.091, Florida

             Statutes; and grant to the Estate such other relief as the Court deems just and proper.




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                                             COUNT III: FORCIBLE ENTRY
                                           (Schwartz and Unknown Defendants)

                       107.   Personal Representative re-alleges paragraphs 1 through 81 as if fully set forth

             herein.

                       108.   This is an action by Personal Representative against Schwartz and Unknown

             Defendants to recover possession of real property forcibly entered in Hillsborough County,

             Florida, pursuant to Chapter 82, Florida Statutes, and is pled in the alternative to Counts I and II.

                       109.   Personal Representative is the party entitled to possession of the Lasswell Family

             Home.

                       110.   Schwartz and Unknown Defendants do not hold any title to or any estate in the

             Lasswell Family Home; do not occupy the Lasswell Family Home under any rental agreement,

             whether written or verbal, as defined in Part II of Chapter 83, Florida Statute, and are therefore

             not residential tenants.

                       111.   Schwartz and Unknown Defendants do not otherwise possess any vested right to

             possession or occupancy of the Lasswell Family Home.

                       112.   Nevertheless, Schwartz and Unknown Defendants are currently in possession of

             the Lasswell Family Home.

                       113.   At some point after his limited access to the Lasswell Family Home for Project-

             related purposes was terminated, Schwartz and Unknown Defendants forcibly entered the

             Lasswell Family Home.

                       114.   Personal Representative demanded that Schwartz vacate the Lasswell Family

             Home multiple times subsequently.

                       115.   Schwartz and Unknown Defendants have failed or refused to vacate, and continue

             in possession of the dwelling.



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                       116.   Schwartz and Unknown Defendants forcibly turned Personal Representative out

             of the Lasswell Family Home and deprived Personal Representative of possession of the

             Lasswell Family Home by their forcible entry, against Personal Representative’s consent.

                       117.   The Estate and Personal Representative have been damaged by Schwartz’s and

             Unknown Defendants’ forcibly entry and possession of the Lasswell Family Home, including by

             loss of use and enjoyment of the unlawfully detained Property.

                       118.   Pursuant to Section 82.03, Florida Statutes, Personal Representative is entitled to

             summary procedure as set forth in Section 51.011, Florida Statutes.

                       WHEREFORE, Plaintiff, Personal Representative, respectfully requests that this Court:

             find that Defendant, Timothy Schwartz and Unknown Defendants, wrongfully hold possession of

             the Property; grant final judgment in favor of the Estate and against Schwartz and Unknown

             Defendants; issue a writ of possession in favor of the Estate to the exclusion of Schwartz and

             Unknown Defendants; award to the Estate the costs of this action, in accordance with Section

             82.091, Florida Statutes; and grant to the Estate such other relief as the Court deems just and

             proper.

                                                 COUNT IV: EJECTMENT
                                                      (Schwartz)

                       119.   Personal Representative re-alleges paragraphs 1 through 81 as if fully set forth

             herein.

                       120.   This is an action for ejectment by Personal Representative against Schwartz,

             pursuant to Chapter 66, Florida Statutes, to recover possession of real property in Hillsborough

             County, Florida.

                       121.   Schwartz is not entitled to possession of the Lasswell Family Home and Personal

             Representative has a present right to possession.



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                     122.    Nonetheless, Schwartz retains possession of the Lasswell Family Home without

             the permission of Personal Representative.

                     123.    Upon information and belief, Schwartz believes he has an ownership interest in

             the Lasswell Family Home.

                     124.    The Estate claims title to Lasswell Family Home as shown, amongst other things,

             by the chain of title set forth above, and by that Warranty Deed attached hereto as Exhibit “A.”

                     125.    Despite the demand and request of Personal Representative for possession,

             Schwartz remains in possession of the Lasswell Family Home, to the exclusion of the Estate’s

             sole and exclusive possession, and Schwartz is depriving the Estate the benefit of ownership,

             including without limitation, to the Estate’s exclusive possession, use, and enjoyment of the

             Lasswell Family Home.

                     126.    Schwartz refuses to deliver possession of the Lasswell Family Home to the Estate

             or pay the profits from it.

                     127.    Schwartz has no right, title, or interest in the Lasswell Family Home.

                     128.    Any claim that Schwartz may have to the Lasswell Family Home is inferior,

             junior, and subject to the right, title, and interest of the Estate, who claims title thereto on behalf

             of the Estate of Shirley S. Lasswell.

                     WHEREFORE, Plaintiff, Personal Representative, respectfully requests that this Court

             enter a judgment in favor of the Estate and against Defendant Timothy Schwartz, holding that the

             Estate shall recover possession of the Lasswell Family Home, awarding damages and costs, and

             awarding such further relief that the Court deems just and proper.




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                                                  COUNT V: TRESPASS
                                            (Schwartz and Unknown Defendants)

                       129.   Personal Representative re-alleges paragraphs 1 through 81 as if fully set forth

             herein.

                       130.   This is an action for trespass to real property located in Hillsborough County,

             Florida by Personal Representative against Schwartz and Unknown Defendants.

                       131.   Schwartz and Unknown Defendants willfully remain in possession of the Lasswell

             Family Home without the permission, authorization license, or invitation of Personal

             Representative.

                       132.   Shirley S. Lasswell or the Estate of Shirley S. Lasswell is the lawful owner of the

             Lasswell Family Home.

                       133.   Schwartz has indicated that he plans to continue occupying the Lasswell Family

             Home.

                       134.   Schwartz and Unknown Defendants have acted with malice or conscious

             disregard to the rights of possession of the Estate.

                       135.   The Estate and Personal Representative have been damaged by Schwartz’s

             actions.

                       136.   Personal Representative is entitled to injunctive relief as there exists a continuing

             trespass.

                       WHEREFORE, the Plaintiff, Personal Representative, respectfully requests that this

             Court enter its judgment in favor of the Estate and against the Defendants, Timothy Schwartz

             and Unknown Defendants, awarding the Estate possession of the Lasswell Family Home, and

             further awarding the Estate damages and costs, injunctive relief, and any further relief that this

             Court deems just and proper.



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                                                 COUNT VI: DAMAGES
                                                   (All Defendants)

                    137.    Plaintiffs re-alleges paragraphs 1 through 81 as if fully set forth herein.

                    138.    This is an action for damages by all Plaintiffs against all Defendants.

                    139.    Defendants are liable for damages, including but not limited to: physical damage

             to the Lasswell Family Home, including repair costs, loss of rental income, loss of use and

             enjoyment of the Lasswell Family Home, loss of collateral value of the Lasswell Family Home,

             loss of potential profit from sale of Lasswell Family Home, and damages pertaining to the

             Personal Property that was damaged, removed and/or stolen.

                    140.    Defendants are also liable for damages for crippling Corporate Plaintiffs’ ability to

             run their businesses.

                    141.    In addition, under Sections 83.46(3) and 83.625, Fla. Stat., Schwartz is liable for

             past due rent no less than the amount of $93,194.13, which amount continues to accrue.

                    WHEREFORE, Plaintiffs request judgment against Defendants for damages, court costs

             reasonable attorney's fees, as authorized by Section 83.48, Fla. Stat., interest including pre-

             judgment interest, and any further relief deemed just and proper.

                                              COUNT VII: CONVERSION
                                                  (All Defendants)

                    142.    Plaintiffs re-allege paragraphs 1 through 81 as if fully set forth herein.

                    143.    This is an action by all Plaintiffs against all Defendants for conversion.

                    144.    Without Plaintiffs’ knowledge or consent, Defendants exercised wrongful

             dominion or control over the Personal Property, or caused others to do so.

                    145.    Defendants converted the Personal Property to their own use.




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                     146.   Plaintiffs demanded the return of the Personal Property and the demand was not

             met.

                     147.   The wrongful dominion or control of the Personal Property was detrimental to

             Plaintiffs, and Defendants are liable to Plaintiffs for the value of the items removed.

                     148.   Defendants’ conduct equates to conversion and was done with the intent to

             appropriate the Personal Property to their own use or to the use of a person not entitled thereto.

                     WHEREFORE, Plaintiffs request this Court to enter a judgment against Defendants for

             damages and an injunction requiring Defendants to return the Personal Property, and for attorneys’

             fees and costs of this action, interest including pre-judgment interest, and other relief this Court

             deems appropriate.

                                                COUNT VIII: INJUNCTION
                                                    (All Defendants)

                     149.   Plaintiffs re-alleges paragraphs 1 through 81 as if fully set forth herein.

                     150.   This is an action by all Plaintiffs against all Defendants for temporary and

             permanent injunctive relief.

                     151.   By removing the Personal Property, Defendants violated clear legal rights of

             Plaintiffs.

                     152.   Plaintiffs will be permanently and irreparably damaged if Defendants are not

             enjoined from such further acts.

                     153.   Defendants should also be ordered to return the Personal Property.

                     154.   Plaintiffs have no adequate remedy at law.

                     155.   Defendants have no claim of ownership, possessory or other rights to the Personal

             Property.




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                       156.   The harm suffered by Plaintiffs in the absence of an injunction would exceed the

             harm suffered by the Defendants if the injunction issued.

                       157.   Plaintiffs have a substantial likelihood of success on the merits of this action and

             actual success on the merits.

                       158.   Entry of an injunction will serve the public interest.

                       159.   Plaintiffs have a clear right to the relief sought.

                       WHEREFORE Plaintiffs demand the entry of a temporary and permanent, prohibitive

             and mandatory injunctions against Defendants, and such other relief as the Court deems just and

             proper.

                                                     COUNT IX – FRAUD
                                                  (Schwartz and Design Tank)

                       160.   The Goldbook Partnership Plaintiffs re-allege Paragraphs 1-81 as if fully set forth

             herein.

                       161.   This is an action for fraud by Goldbook Partnership against Schwartz and Design

             Tank.

                       162.   The actions and statements of Schwartz and Design Tank, including without

             limitation, their misrepresentations regarding Project-related efforts and progress, defrauded the

             Goldbook Partnership.

                       163.   These statements and actions concern material facts.

                       164.   Schwartz and Design Tank knew or should have known that the statements were

             false and that Schwartz and Design Tank’s related actions were fraudulent.

                       165.   Schwartz and Design Tank’s intent in making the false statements and carrying

             out the related actions was that the statements and actions would induce the Goldbook




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             Partnership to act thereon, including by paying Schwartz and Design Tank compensation and

             consideration.

                    166.      The Goldbook Partnership relied on the false statements and related actions and in

             doing so were injured and suffered damages.

                    WHEREFORE, the Goldbook Partnership Plaintiffs respectfully request that this Court

             enter judgment against Schwartz and Design Tank for damages, interest including pre-judgment

             interest, and any further relief that the Court deems just and proper.

                                          COUNT X: BREACH OF CONTRACT
                                             (Schwartz and Design Tank)

                    167.      The Goldbook Partnership Plaintiffs re-alleges Paragraphs 1-81 as if fully set

             forth herein.

                    168.      This is an action for breach of contract by the Goldbook Partnership against

             Schwartz and Design Tank.

                    169.      The verbal agreement between Goldbook Partnership and Schwartz and Design

             Tank involving the Project was a valid and enforceable contract.

                    170.      By the actions set forth herein, Schwartz and Design Tank materially breached

             said agreement.

                    171.      In addition, Schwartz and Design Tank breached their duty of good faith and fair

             dealing, including in their performance of Project-related activities.

                    172.      The Goldbook Partnership suffered damages as a result of Schwartz and Design

             Tank’s breaches, including the compensation and consideration they paid said Defendants.

                    WHEREFORE, the Goldbook Partnership Plaintiffs respectfully request that this Court

             enter judgment against Schwartz and Design Tank for damages, interest including pre-judgment

             interest, and for any further relief that the Court deems just and proper.



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                                          COUNT XI: UNJUST ENRICHMENT
                                             (Schwartz and Design Tank)

                       173.   The Goldbook Partnership Plaintiffs re-allege Paragraphs 1-81 as if fully set forth

             herein.

                       174.   This is an action for unjust enrichment by the Goldbook Partnership against

             Schwartz and Design Tank, and is pled in the alternative to Count XI.

                       175.   The Goldbook Partnership paid compensation and consideration to Schwartz and

             Design Tank based on Schwartz and Design Tank’s misrepresentations regarding Project-related

             efforts and progress.

                       176.   As such, the Goldbook Partnership conferred a benefit upon Schwartz and Design

             Tank, to which said Defendants were not entitled.

                       177.   Schwartz and Design Tank acknowledged, appreciated, accepted, and retained the

             benefit conferred.

                       178.   As a result, Schwartz and Design Tank are unjustly enriched at the expense of the

             Corporate Plaintiffs.

                       179.   Schwartz and Design Tank’s retention of the payments and consideration under

             the circumstances described herein would be inequitable.

                       180.   The Goldbook Partnership Plaintiffs are entitled to damages as a result of

             Schwartz and Design Tank’s unjust enrichment, including the disgorgement of any compensation

             and consideration Defendants received and/or unlawfully retained.

                       181.   The Goldbook Partnership unsuccessfully demanded a remedy from Schwartz and

             Design Tank and have no other adequate remedy at law.




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                    WHEREFORE, Goldbook Partnership Plaintiffs respectfully request that this Court
             enter judgment against Schwartz and Design Tank, for damages, interest including pre-judgment
             interest, and for any further relief that the Court deems just and proper.
                    Dated this 1st day of March, 2017.

                                                           LIESER SKAFF ALEXANDER, PLLC
                                                           Attorneys for Plaintiffs
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                                                           (813) 251-8715 (fax)
                                                           jeff@lieserskaff.com

                                                           By: /s/ Jeffrey P. Lieser__________
                                                                   Jeffrey P. Lieser
                                                                   FLA. BAR NO. 29164




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EXHIBIT 2
